
43 N.Y.2d 814 (1977)
Bruce C. Mace, Appellant,
v.
Ryder Truck Rental, Inc., Respondent.
Joanne Mace, Appellant,
v.
Ryder Truck Rental, Inc., Respondent.
Court of Appeals of the State of New York.
Argued November 11, 1977.
Decided December 19, 1977.
Thomas E. Myers and John J. Dee for appellants.
Robert A. Small for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE.
Order reversed, with costs, for reasons stated in the dissenting opinions at the Appellate Division by Presiding Justice HAROLD E. KOREMAN and Mr. Justice MICHAEL E. SWEENEY and the case remitted to the Appellate Division, Third Department, for review of the facts (CPLR 5613).
